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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                                             4:04CR00239-7 JMM

JOSE MENDIOLA

                                              ORDER

       On December 21, 2005, Petitioner executed a written plea agreement and entered a plea

of guilty to conspiracy to distribute and to possess with the intent to distribute 1000 kilograms or

more of marijuana in violation of 21 U.S.C. § 841(a)(1), using and discharging a firearm during

a drug trafficking offense in violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and 2, and conspiracy to

launder drug proceeds in violation of 18 U.S.C. § 1956(h). The Court sentenced Petitioner to a

term of 330 months imprisonment. There was no appeal. Currently pending before the Court is

Petitioner’s motion filed pursuant to 28 U.S.C. § 2255 on February 26, 2009 and the

Government’s motion to dismiss filed on March 18, 2010.

       In his § 2255 petition, Petitioner argues that his counsel was ineffective for (1) failing to

file several pre-trial motions and (2) failing to file a notice of appeal to his sentence as requested.

Based upon Petitioner’s allegation, the Court scheduled an evidentiary hearing on March 10,

2010 to determine whether Petitioner actually requested that his counsel at the time, Cathi

Compton, file a Notice of Appeal. However, Petitioner’s post-judgment counsel, Steven Rozan,

failed to appear on behalf of his client. The hearing was cancelled. Subsequently, the Court was

notified that Rozan had been administratively suspended from the practice of law by the State of

Texas for twenty-four (24) months. The Court, therefore, appointed new counsel for the

Petitioner.
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        In the interim, the United States filed its motion to dismiss the § 2255 petition because it

was filed almost three years after Petitioner was sentenced and is time barred by the statute of

limitations in 28 U.S.C. § 2255(f). Petitioner’s new counsel, Danny Glover, argues that

Petitioner was advised by Rozan that his § 2255 had been timely filed in early 2007 and, for this

reason, Petitioner should be allowed to file a belated petition.

       In certain circumstances, ineffective assistance of counsel may toll the statute of

limitations. “The Eighth Circuit has recognized that the doctrine of equitable tolling is available

to a § 2255 movant, but it is available only where ‘an attorney's behavior may be so outrageous

or so incompetent as to render it extraordinary.’ ” Byers v. United States, 561 F.3d 832, 836 (8th

Cir. 2009) (citing United States v. Martin, 408 F.3d 1089, 1093 (8th Cir. 2005)). An attorney’s

negligence or mistake does not generally constitute such circumstances that would justify

equitable tolling. Id. Further, the circumstances must not be attributable to the petitioner and

must be beyond his control. Id.

       A “petitioner’s allegation that he was deceived by his attorney into believing that a

timely § 2255 motion had been filed on his behalf presents a ‘rare and extraordinary

circumstance beyond petitioner's control that could warrant equitable tolling of the statute of

limitations if petitioner reasonably relied on the attorney's misrepresentations.” Martin, 408 F.3d

at 1093-94 (quoting United States v. Wynn, 292 F.3d 226, 230 (5th Cir. 2002)). The conclusion

that equitable tolling is appropriate assumes the petitioner can establish the attorney misled him.

Wynn, 292 F.3d 230-31. The circuit court in Wynn remanded the case to the district court to hold

a hearing on those issues. Id.

       Here Petitioner claims that Rozan informed him that his § 2255 motion was timely filed


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in early 2007. Rozan, however, did not file the motion for two years. Petitioner asserts that he

was deceived by Rozan into believing that his § 2255 motion was timely filed. After considering

Petitioner’s allegations and the unusual circumstances of this case, the Court finds that Rozan’s

actions do amount to the rare and extraordinary circumstances that constitute equitable tolling of

the statute of limitations. Therefore, the Court will consider the § 2255 petition.

       A. Counsel Was Ineffective for Failing to File Several Pre-trial Motions

       On November 29, 2004, Petitioner’s counsel, Cathi Compton, filed a five-page motion

for discovery in Petitioner’s case. In the motion, Petitioner asked the Court for an Order

“directing and commanding” the U.S. Attorney to disclose and produce to the Defendant an

exhaustive list of information, including: all witnesses and their prior criminal history, all

written, recorded, and oral statements made by the witnesses and the Defendant, all reports or

statements, graphs, charts, and handwritten notes of experts made in connection with the case,

any books, papers, documents photographs to be used at trial or which were obtained from or

belong to the Defendant, all transcripts or summaries of electronic or physical surveillance of the

Defendant, the names, addresses and telephone numbers of persons who have knowledge of

material facts in connection with the case, the names of informants, a description of the manner

of defendant’s alleged participation in the offense, any affidavits and transcripts of any recorded

or oral testimony given in support of applications for search and seizure or arrest warrants,

copies of all search and seizure warrants and arrest warrants, any exculpatory evidence, any tape

recordings, tapes, still photos, motion pictures and video tape recordings relevant to the case, and

the relationship to the prosecution of any witnesses who are to be called at trial. (Docket # 143).

The Court denied the Defendant’s motion to the extent that it exceeded the applicable discovery


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law set forth in the Federal Rules of Criminal Procedure and Brady v. Maryland, 373 U.S. 83

(1963). (Docket # 191). The Court finds Petitioner’s contention that his counsel failed to file

pre-trial discovery motions to be without merit.

       B. Counsel was Ineffective for Failure to File a Notice of Appeal

       Next, Petitioner claims that he asked Compton to file a Notice of Appeal of his sentence.

Failure to File a requested direct appeal is per se ineffective assistance of counsel. There is no

need to show prejudice. See Peguero v. United States, 119 S.Ct. 961 (1999); Hollis v. United

States, 687 F.2d 257, 259 (8th Cir.1982). Therefore, the Court will again schedule an

evidentiary hearing to determine whether Petitioner actually requested that Compton file a

Notice of Appeal on his behalf.

       In conclusion, the Government’s Motion to Dismiss (Docket # 569) is DENIED.

Petitioner’s § 2255 motion (Docket # 538) is DENIED with regard to his argument that his

counsel was ineffective for failing to file several pre-trial motions. The Court is taking

Petitioner’s remaining § 2255 claim under advisement pending a hearing on the matter.

       IT IS SO ORDERED this 7th day of July, 2010.



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                                                             James M. Moody
                                                             United States District Judge




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